
FULMER, Judge,
concurring.
I concur because I agree that, given the facts in this case, the trial court did not abuse its discretion by denying the temporary injunction. However, I do not agree with the reasoning set forth in the trial court’s order. The trial court denied the injunction based on a conclusion that appel-lees were only picketing and that picketing is a protected right of free speech. I wish only to point out that while picketing is recognized as a form of speech, it is not an absolute right and may, under proper circumstances, be enjoined. In this case involving “commercial speech,” the activities of the appellees may have come close to the circumstances that would support an injunction. Nevertheless, keeping in mind the standard of review, I agree we must affirm the denial of the injunction.
